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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION

DAVID HAVERKAMP,                                            §
TDCJ NO. 00702013,                                          §
     Plaintiff,                                             §
                                                            §             Civil Action No. 2:17-CV-00018
v.                                                          §
                                                            §             Jury Demand
JOSEPH PENN, et al.,                                        §
     Defendants.                                            §


                                  DEFENDANTS’ ADVISORY
                             CONCERNING SUBSTITUTION BY RULE 1

         Plaintiff’s lawsuit includes an official capacity claim against Dr. Rodney Burrow, in his

official capacity as a member of the state’s Correctional Managed Health Care Committee

(“CMHCC”). Dr. Burrow recently resigned his position on the CMHCC. Governor Greg Abbott

has appointed Robert Greenberg, M.D. in Dr. Burrow’s place.

         Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Dr. Robert Greenberg now

substitutes automatically for Dr. Rodney Burrow.

      Dated: July 28, 2020.

                                                       Respectfully Submitted.

                                                       KEN PAXTON
                                                       Attorney General of Texas

                                                       JEFFREY C. MATEER
                                                       First Assistant Attorney General

                                                       RYAN L. BANGERT
                                                       Deputy First Assistant Attorney General

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 The substituted defendant respectfully requests that this Court direct the district clerk to amend the docket to reflect
the proper parties.
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                                           DARREN L. MCCARTY
                                           Deputy Attorney General for Civil Litigation

                                           SHANNA E. MOLINARE
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                                           Law Enforcement Defense Division

                                           /s/ Courtney Corbello
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                              NOTICE OF ELECTRONIC FILING

        I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that I

have electronically submitted for filing, a true and correct copy of the above and foregoing in

accordance with the Electronic Case Files System of the Southern District of Texas, on July 28,

2020.

                                           /s/ Courtney Corbello
                                           COURTNEY CORBELLO
                                           Assistant Attorney General




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                                    CERTIFICATE OF SERVICE

       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that a

true and correct copy of the above and forgoing has been served via US Postal Service, postage

prepaid, certified mail, return receipt requested, on July 28, 2020, addressed to:

       David Alan Haverkamp
       a/k/a Bobbie Lee Haverkamp, #702013
       Stiles Unit
       3060 FM 3514
       Beaumont, Texas 77705

                                              /s/ Courtney Corbello
                                              COURTNEY CORBELLO
                                              Assistant Attorney General




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